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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


 IN RE: JOHNSON & JOHNSON                             MDL NO. 16-2738 (FLW) (LHG)
 TALCUM POWDER PRODUCTS
 MARKETING, SALES PRACTICES,                          Judge Freda L. Wolfson
 AND PRODUCTS LIABILITY
 LITIGATION


 This document relates to: All Plaintiffs


                      JOINT APPLICATION FOR APPOINTMENT OF
                       THE PLAINTIFFS’ STEERING COMMITTEE

        Pursuant to this Court’s directive, Christopher M. Placitella, P. Leigh O’Dell and

 Michelle A. Parfitt submit this joint application for the appointment of the Plaintiffs’ Steering

 Committee.

        The individuals and firms outlined in this application meet the criteria for appointment to

 the Plaintiffs’ Steering Committee (“PSC”). They are recognized nationally for their expertise,

 trial skills and success in the area of complex mass tort actions. These individuals and the firms

 that they represent have achieved notable success on behalf of individuals who have been injured

 as a result of defective devices, drugs or consumer products. Significantly, the lawyers and firms

 proposed here have accepted prior leadership roles in numerous MDL proceedings and have

 exhibited the leadership qualities necessary for the successful resolution of these important issues

 of women’s public health involving talc and ovarian cancer.

        Those who have accepted appointment to and have served on steering committees of

 previous MDLs understand the commitment of time and resources that are required to develop

 and attain the successful prosecution of these cases. They are committed to meeting the demands

 necessary to litigate these claims against Johnson & Johnson, Imerys, and the Personal Care
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 Products Council (“PCPC”) and stand ready to commit the significant resources necessary to

 ensure the efficient representation of women who have suffered personal injury and death from

 ovarian cancer following their use of talcum-powder based products.

         Many of the individuals proposed for MDL leadership have already invested significant

 time and resources toward advancing the litigation over the last several years. The individuals

 and law firms proposed for leadership represent numerous clients in these mass tort proceedings.

         Not only do these individuals have the skill, experience in mass tort matters, resources,

 and time to fulfill their responsibilities as a member of the PSC, importantly, they have

 demonstrated their ability to work cooperatively with others. Those individuals proposed for

 leadership represent a consensus reached following an organizational meeting in Atlanta on

 November 2, 2016, which was preceded by numerous discussions, calls, and email

 correspondence. There were significant efforts made to confer with interested counsel and reach

 an agreed-upon PSC slate that was competent, diverse, inclusive and transparent.

         For these reasons, more fully explained below, Christopher M. Placitella, proposed

 Liaison Counsel, and P. Leigh O’Dell and Michelle A. Parfitt, proposed Co-Lead Counsel,

 request that the Court enter an order appointing the proposed Plaintiffs’ Steering Committee.

    I.      Justification for Number of Proposed Members of the PSC

         As noted by the Court during the Organizational Meeting on November 17, 2016, there is

 much discovery that remains to be done in relation to Johnson & Johnson, Imerys, PCPC, and

 other third party entities. To date, there has been only limited production of documents and six

 corporate witness depositions (2 of Johnson & Johnson employees, 2 of Imerys employees, and 2

 of PCPC employees). While the claims against each Defendant share common issues of fact,

 particularly in the area of general causation, Plaintiffs will have the burden of discovery and



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 proving liability as to each individual Defendant. This will require the formation of individual

 discovery teams to focus on each of the three Defendants and involved third parties. Other

 lawyers will be responsible for work that is common to all claims, such as document depository

 obligations, law and briefing, development of science/experts, and administrative duties. It is

 noteworthy to mention that Talc products, unlike other pharmaceuticals and medical devices

 have been on the market for decades, necessitating substantial discovery covering the decades of

 its use.

            One of the important obligations of PSC membership is to represent the interests of all

 litigants as well as the duty to fund the litigation on behalf of all plaintiffs. This responsibility

 requires a commitment to expend the necessary funds over an unknown period of time. Because

 this litigation involves one of Johnson & Johnson’s flagship products, Plaintiffs expect that the

 litigation will be hard fought and protracted. For these reasons, the PSC must be composed of

 sufficient numbers of individuals whose firms can adequately discover and fund the litigation.

 As demonstrated by the numerous lawyers who appeared on behalf of Defendants during the

 November 17th hearing, Defendants will spare no expense in the defense of these claims.

 Johnson & Johnson1 and Imerys2 are multinational, multi-billion dollar corporations. Thus far in

 this litigation, Defendants have demonstrated a desire and willingness to try numerous cases.

 Should cases proceed in the MDL as bellwether trials, it is expected that the development and

 trial of those cases will costs hundreds of thousands of dollars (if not up to $1 million) per trial.

 The development of expert witnesses and depositions of corporate and third party witnesses will

 result in the commitment of millions of dollars of hard costs, apart from attorney time.




 1
     As of December 31, 2015, Johnson & Johnson had assets valued at $133.4 billion.
 2
     Imerys reported shareholder equity in the amount of $2.672 billion as of December 31, 2015.

                                                            3
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          To limit the number of members on the PSC, the Court essentially limits the manpower

 and resources available to prosecute Plaintiffs’ claims. In light of the nearly unlimited resources

 available to Defendants, Plaintiffs strongly urge the Court to appoint the proposed members of

 the PSC.

          The proposed leadership slate is composed of 17 individuals. These individuals and their

 firms represent a large percentage of filed cases. Moreover, a PSC composed of 17 individuals is

 substantially consistent with many PSC structures in other MDLs. For example, in In re: Actos

 (Pioglitazone) Products Liability Litigation, MDL No. 2299, Judge Rebecca Doherty appointed

 an 18 member PSC, of which two individuals serve as co-leads and six serve on an executive

 committee.3 In In re: Fresenius Granuflo/Naturalyte Dialysate Products Liability Litigation,

 MDL No. 2428, Judge Douglas P. Woodlock appointed an 18 member PSC, of which three

 individuals serve as liaison counsel and six serve on an executive committee.4 In In re: Xarelto

 (Rivaroxaban) Products Liability Litigation, MDL No. 2592, Judge Eldon Fallon appointed a

 leadership structure of 14 members, of which two serve as co-leads and two liaison counsel.5 In

 In re: Gadolinium-Based Contract Agents Products Liability Litigation, MDL No. 1909, Judge

 Dan A. Polster appointed 19 lawyers to leadership with two co-chairs of the PSC, one liaison

 counsel, and five members of an executive committee.6 In In re: Testosterone Replacement

 Therapy Products Liability Litigation, MDL No. 2545, Judge Matthew F. Kennelly appointed 32

 member PSC with three co-leads, two liaison counsel, and an eight-member executive

 committee.7 In In re: Mirena IUD Products Liability Litigation, MDL No. 2434, Judge Cathy




 3
   See Ex. 1.
 4
   See Ex. 2.
 5
   See Ex. 3.
 6
   See Ex. 4.
 7
   See Ex. 5.

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 Seibel appointed a 17-member PSC, with three co-leads and one liaison counsel.8 Judge Joseph

 Goodwin appointed a leadership structure composed of 61 lawyers in In re: Ethicon, Inc., Pelvic

 Repair System Product Liability Litigation, two of which serve as co-lead counsel, eight who

 serve as members of an executive committee, and three who serve as liaison counsel.9                       In      In

 Re: Benicar (Olmesartan) Products Liability Litigation, MDL No. 2606, Judge Robert Kugler

 appointed a 21 member PSC, five who serve as members of an executive committee, and one

 who serves as liaison counsel.10

     II.      PROPOSED PLAINTIFFS’ STEERING COMMITTEE

           The lawyers (and their respective law firms) listed below are proposed for leadership

 because they demonstrate the unique qualifications incumbent on one seeking personal

 appointment to serve on a PSC. They have committed and dedicated their time and resources to

 this ligation. Collectively, they represent untold numbers of women who suffer or who have

 died as a result of ovarian cancer following their use of talcum-powder based products.11

           A. Co-Lead Counsel

           P. Leigh O’Dell                                     Michelle A. Parfitt
           BEASLEY, ALLEN, CROW,                               ASHCRAFT & GEREL, LLP
           METHVIN, PORTIS & MILES, P.C.                       4900 Seminary Road, Suite 650
           218 Commerce Street                                 Alexandria, VA 22311
           Montgomery, AL 36104                                Tel: 703-931-5500
           Tel: 334-269-2343                                   mparfitt@ashcraftlaw.com
           leigh.odell@beasleyallen.com

           B. Plaintiffs’ Liaison Counsel




 8
   See Ex. 6.
 9
   See Ex. 7 (Judge Goodwin appointed substantially the same lawyers to serve on the PSC of at least three other
 transvaginal mesh-related MDLs).
 10
    See Ex. 8.
 11
    Appended to this motion as Exs. 9 to 25, the Court will find curriculum vitae for each member of the proposed
 leadership and their firms.

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         Plaintiffs’ Liaison Counsel shall serve as the recipient of all Court orders on behalf of all

 plaintiffs; coordinate service and filings for all plaintiffs; maintain and distribute to co-counsel

 and Defendants an updated service list; receive and distribute pleadings, orders, and motions;

 assist with the establishment and maintenance of a document depository; maintain and make

 available to all participating plaintiffs’ counsel of record a complete file of all documents served

 by or upon each party; prepare agendas for court conferences; and any such other duties as the

 Court may order or that may be necessary for the orderly operation of the PSC.

         Christopher M. Placitella
         COHEN, PLACITELLA, & ROTH, P.C.
         127 Maple Avenue
         Red Bank, NJ 07701
         Tel: 732-747-9003
         cplacitella@cprlaw.com


         C. Plaintiffs’ Executive Committee

         The Plaintiffs’ Executive Committee shall coordinate the responsibilities of the PSC, schedule

 PSC meetings, keep minutes or transcripts of these meetings, appear at status conferences, and perform

 other administrative and leadership functions as necessary.

       Warren T. Burns                                    Richard Golomb
       BURNS CHAREST LLP                                  GOLOMB & HONIK, P.C.
       500 North Akard Street, Suite 2810                 1515 Market Street, Suite 1100
       Dallas, TX 75201                                   Philadelphia, PA 19102
       Tel: 469-904-4551                                  Tel: 215-985-9177
       wburns@burnscharest.com                            rgolomb@golombhonik.com

       Richard H. Meadow                                  Hunter J. Shkolnik
       THE LANIER LAW FIRM PC                             NAPOLI SHKOLNIK PLLC
       6810 FM 1960 West                                  360 Lexington Avenue, 11th Floor
       Houston, TX 77069                                  New York, NY 10017
       Tel: 713-659-5200                                  Tel: 212-397-1000
       richard.meadow@lanierlawfirm.com                   hunter@napolilaw.com




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          D. Plaintiffs’ Steering Committee

          The proposed members of the PSC are the following individuals, whose roles in the case are

 more fully explained below in Section III, describing the structure of the various working committees

 that are anticipated to be needed in order to successfully and efficiently litigate the cases on behalf of all

 Plaintiffs.

          Laurence S. Berman                               Timothy G. Blood
          LEVIN, FISHBEIN, SEDRAN & BERMAN                 BLOOD, HURST & O’REARDON, LLP
          510 Walnut Street, Suite 500                     701 B Street, Suite 1700
          Philadelphia, PA 19106                           San Diego, CA 92101
          Tel: 215-592-1500                                Tel: 619-338-1100
          lberman@lfsblaw.com                              tblood@bholaw.com

          Sindhu S. Daniel                                  Jeff S. Gibson
          BARON & BUDD, P.C.                               COHEN & MALAD, LLP
          3102 Oak Lawn Avenue, #1100                      One Indiana Square, Suite 1400
          Dallas, TX 75219                                 Indianapolis, IN 46204
          Tel: 214-521-3605                                Tel: 317-636-2495
          sdaniel@baronbudd.com                            jgibson@cohenandmalad.com

          Kristie M. Hightower                              Daniel R. Lapinski
          LUNDY, LUNDY, SOILEAU & SOUTH, LLP               WILENTZ, GOLDMAN & SPITZER, P.A.
          501 Broad Street                                 90 Woodbridge Center Drive
          Lake Charles, LA 70601                           Woodbridge, NJ 07095
          Tel: 337-439-0707                                Tel: 732-855-6066
          khightower@lundylawllp.com                       dlapinski@wilentz.com

          Victoria Maniatis                                Carmen S. Scott
          SANDERS PHILLIPS GROSSMAN,                       MOTLEY RICE LLC
          LLC                                              28 Bridgeside Boulevard
          100 Garden City Plaza, Suite 500                 Mount Pleasant, SC 29464
          Garden City, NJ 11530                            Tel: 843-216-9162
          Tel: 516-640-3913                                cscott@motleyrice.com
          vmaniatis@thesandersfirm.com

          Eric H. Weinberg                                  Dr. C. Mark Whitehead, III
          THE WEINBERG LAW FIRM                            THE WHITEHEAD LAW FIRM, LLC
          149 Livingston Avenue                            3639 Ambassador Caffery Parkway
          New Brunswick, NJ 08901                          Petroleum Tower, Suite 303
          Tel: 732-246-7080                                Lafayette, LA 70503
          ehw@erichweinberg.com                            Tel: 337-740-6006
                                                           cmw@whiteheadfirm.com


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     III.       Proposed Committee Structure

            The proposed leadership analyzed the work necessary to prosecute the claims of all plaintiffs in

 this MDL. Based on their analysis and experience in other MDLs, the leadership believes that the

 following committees are necessary for the efficient and effective prosecution of the PSC’s duties. The

 committees will be chaired or co-chaired by members of the PSC. Each committee will be composed of

 members of the PSC, associates and colleagues at their firms, and other interested counsel who have

 communicated their willingness to dedicate their time and resources to provide meaningful work on

 these cases.

            A. Administration Committee

            The administration committee is essential and will focus on establishing and maintaining a

 document depository, establishing and overseeing the business affairs of the PSC, establishing and

 overseeing the procedures for common benefit time and expense submission and review, establishing an

 electronic platform for Plaintiff Fact Sheets and Defense Fact Sheets, among other duties. P. Leigh

 O’Dell, Sindhu Daniel and Laurence Berman will focus their efforts in part on the duties of the

 Administration committee.

            B. Class Action Committee

            Timothy G. Blood has submitted a separate application for appointment as Rule 23(g) Class

 Counsel for all consumer class cases. The proposed leadership supports his appointment as Class

 Counsel and as a member of the PSC. Mr. Blood’s membership on the PSC will ensure seamless

 coordination between the personal injury and class action cases.

            C. Discovery Committee

            The Discovery Committee will initiate, coordinate, and conduct all pre-trial discovery on behalf

 of all plaintiffs in all actions that are consolidated within the MDL. This will necessitate the creation of



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 teams that focus on discovery relevant to all Defendants. Other individual teams will focus on a specific

 defendant, resulting in individuals teams assigned to Johnson & Johnson, Imerys, PCPC, and any other

 named defendants. The Discovery Committee will be responsible for taking the depositions of all

 liability witnesses. Other Discovery Committee teams will focus on the necessary tasks of document

 review, sales and marketing, third-party discovery, privilege log review and motion practice, regulatory

 and post-market surveillance, and insurance. The Discovery Committee will also be responsible for the

 development and negotiation of proposed court management order for discovery. Numerous PSC

 members and other interested law firms will be focused on discovery. Michelle Parfitt, P. Leigh O’Dell,

 Jeff Gibson, Richard Golomb, Richard Meadow, Daniel Lapinski, Vicki Maniatis, Hunter Shkolnik, and

 Carmen Scott will focus their efforts in part on the Discovery Committee.

         D. Law and Briefing Committee

         The Law and Briefing Committee will be responsible for all briefing in matters related to the

 common benefit of all plaintiffs, including discovery-related motion practice, Daubert motions, and

 motions for summary judgment among others. The committee will be responsible for the preparation of

 pre-trial orders. The committee will also be responsible for analyzing the legal issues and individual

 motions that affect the rights of all plaintiffs. Laurence Berman, Warren Burns, Richard Golomb, Daniel

 Lapinski, their respective associates, and other interested counsel will compose the Law and Briefing

 Committee.

         E. Science Committee

         The Science Committee will be responsible for the development of Plaintiffs’ evidence for

 general and specific causation in the MDL. This will involve the identification and preparation of all

 MDL experts. Michelle Parfitt, Warren Burns, Jeff Gibson, Richard Golomb, Kristie Hightower, Eric




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 Weinberg, Mark Whitehead, their respective associates and colleagues, and other interested counsel will

 compose the Science Committee.

           F. Trial Committee

           The Trial Committee will be responsible for the selection, management and presentation of

 bellwether trials. The Committee will be responsible for assembling and preparing a trial package that

 can be utilized in future cases, including cases that are remanded to transferor courts for trial. The Trial

 Committee will also conduct focus groups. P. Leigh O’Dell, Warren Burns, Sindhu Daniel, Richard

 Golomb, Kristie Hightower, Daniel Lapinski, Vicki Maniatis, their respective associates and colleagues,

 and other interested counsel will compose the Trial Committee.

     IV.      CONCLUSION

           The proposed leadership is composed of individuals who individually and on behalf of their law

 firms have achieved success at the highest levels in mass tort practice. They have the extensive skill and

 experience necessary to represent the interests of all plaintiffs in the MDL. These individuals and their

 firms are willing to commit the time and monetary resources necessary to prosecute what will likely be

 an immensely time consuming, protracted, and expensive litigation. These individuals and their firms

 represent numerous plaintiffs in this litigation. They are committed to working cooperatively and

 collaboratively for the common good of all plaintiffs.

           For these reasons, we respectfully move the Court to enter an order appointing the proposed

 Plaintiffs’ Steering Committee.

           Dated: November 21, 2016                        Respectfully submitted,


           /s/ Christopher M. Placitella                   /s/ P. Leigh O’Dell
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                                  CERTIFICATE OF SERVICE


        I hereby certify that on November 21, 2016, I electronically filed the foregoing document

 with the Clerk of the Court using the CM/ECF system which will send notification of such filing

 to the CM/ECF participants registered to receive services in this MDL.


        /s/ Christopher M. Placitella                /s/ P. Leigh O’Dell
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